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                                   IN THE DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 IN RE BED BATH & BEYOND                              Case No. 1:22-cv-02541-TNM
 CORPORATION SECURITIES
 LITIGATION



                [JOINT STIPULATION AND PROPOSED] 502(d) ORDER

        The parties have engaged in discussions concerning the discovery and use of certain

documents, communications, and information subject to the attorney-client privilege. The parties

having agreed to the following terms regarding a limited subject matter waiver of the privilege,

and the Court having found that good cause exists for issuance of an appropriately-tailored order,

it is hereby

        ORDERED, pursuant to Federal Rule of Evidence 502(d), that:

        1. Defendants Ryan Cohen and RC Ventures (“Defendants”) voluntarily have waived the
           attorney-client privilege as to each of the following subjects (the “Waived Subjects”):

                   (i) Legal advice to Defendants regarding all Forms 3, 4, and 144 and all
                   Schedules 13D contemplated to be filed or filed with the Securities and
                   Exchange Commission (“SEC”) in connection with Defendants’ transactions in
                   Bed, Bath & Beyond (“BBBY”) securities;

                   (ii) Legal advice to Defendants regarding their actual or potential transactions
                   in BBBY securities; and

                   (iii) Legal advice to Defendants regarding the receipt, possession and/or use of
                   BBBY material nonpublic information.

        2. The subject-matter waiver encompasses only the Waived Subjects.

        3. The subject-matter waiver encompasses legal advice provided by the law firm Olshan
           Frome Wolosky, LLP (“Olshan”). Defendants and Olshan shall produce relevant
           responsive documents reflecting legal advice provided regarding the Waived Subjects.

        4. The subject-matter waiver does not extend to legal advice provided after August 23,
           2022 (the date this action was commenced).


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       5. The subject-matter waiver does not extend to work product in connection with any
          actual or contemplated regulatory investigation or litigation (including the present
          action).

       6. Plaintiff and Defendants may solicit or offer testimony regarding the Waived Subjects.
          Defendants will not assert any privilege objections to such questions, and Plaintiff will
          not assert that the answers to such questions or subsequent use of any such testimony
          regarding the Waived Subjects constitutes a further waiver of privilege beyond the
          Waived Subjects.

       7. The effect of disclosure of the Waived Subjects made pursuant to this Order in any
          other proceeding, investigation, or litigation shall be determined in accordance with
          Federal Rules of Evidence 502(a) and (d), and other applicable Federal law as
          interpreted by the United States Court of Appeals for the District of Columbia Circuit.


Dated: April 5, 2024



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                                            IT IS SO ORDERED.


                                             ______________________________________
                                             UNITED STATES DISTRICT JUDGE

                                             DATED: _____________________________




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